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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION
                                 www.flmb.uscourts.gov

IN RE:                                                     Chapter 7

MICHAEL WILLIAM SCHULTZ,                                   CASE NO. 8:20-BK-00057-CPM

            Debtor.
__________________________________/

               NOTICE OF APPEARANCE AND REQUEST FOR SERVICE

        PLEASE TAKE NOTICE that John L. Dicks II, of the law firm of Akerman LLP, appears
as counsel in this case for Barn Light Electric Co., LLC, and requests service of all pleadings,
notices, and other papers filed in this case as follows:

                                       John L. Dicks II
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished via
electronic service upon on CM/ECF parties on this 11th day of March, 2020.

                                            /s/ John L. Dicks II
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